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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

 ARTHUR M. LOVE,                                        *

                       Plaintiff,                       *

              v.                                        *       No. 1:21-CV-02029

 LARRY HOGAN, et al.,                                   *

                       Defendants.                      *

     *    *        *   *    *       *   *   *   *   *   *   *     *   *   *   *     *   *   *   *   *

         DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS

          In their motion to dismiss, the defendants argued that plaintiff’s claims are barred

by various forms of immunity and that the complaint failed to state a legally viable claim.

Mr. Love’s opposition makes no effort to contest these arguments. Instead, his opposition

is largely a recitation of his complaint with various arguments that are unrelated to the

merits of the pending motion to dismiss.                The complaint should be dismissed with

prejudice.

                                            REPLY ARGUMENT


I.        MR. LOVE HAS ABANDONED SOME OF HIS CLAIMS.

          A plaintiff’s failure to respond to an argument in a motion to dismiss that a claim is

legally deficient amounts to abandonment of that claim.                   Ferdinand-Davenport v.

Children’s Guild, 742 F. Supp. 2d 772, 777 (D. Md. 2010). In his opposition, Mr. Love

fails to offer any response to defendants’ arguments that the complaint lacks factual
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allegations about six of the seven defendants, see ECF 7-1 at 9-11,1 and all claims against

Governor Hogan, Lieutenant Governor Rutherford, Allison Mayer, Mona Vaidya,

Shareese Churchill, and Matthew A. Clark should be dismissed with prejudice because

they have been abandoned.

       Mr. Love also failed to respond to defendants’ argument that he does not allege a

conspiracy for a claim under 42 U.S.C. §§ 1985 and 1986, see ECF 7-1 at 19-21, and

Hence, Counts II and III have been abandoned and should likewise be dismissed with

prejudice. Mr. Love also made no effort to contest the argument that his federal wrongful

discharge claim does not exist, nor that he has not stated a claim for punitive damages.

ECF 7-1 at 22-23, 25-26. Mr. Love’s claim in Count V should be dismissed with prejudice,

as should any claim for punitive damages, because those claims have been abandoned.

       And although it does not necessarily amount to an abandonment of a claim, Mr.

Love also failed to respond to defendants’ arguments that they are protected by Eleventh

Amendment immunity, immunity from the state law claims, and qualified immunity. ECF

7-1 at 6-9, 17-19. The defendants’ immunity is dispositive of all claims against all

defendants.    As a result, those arguments are unopposed before this Court and the

complaint should be dismissed with prejudice.




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         Pagination refers to the given page number, not the page number that the electronic
case file system assigned to it when the document was filed.

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II.    MR. LOVE’S FOCUS ON SERVICE IS MISPLACED.

       Mr. Love devotes a substantial portion of his response to addressing service of

process. Most of this discussion is irrelevant. Defendants’ motion to dismiss made only

two arguments regarding service: (1) Mr. Love failed to serve the State Treasurer, which

is required for tort claims (Counts IV and VI); and (2) Mr. Love failed to personally serve

Matthew Clark for the claims against him in his individual capacity. ECF 7-1 at 27-28. In

response, Mr. Love fails to make any cogent legal argument why these arguments are

incorrect. Service on the Treasurer is a requirement of Maryland law if the claim asserted

is an action under the Maryland Tort Claims Act. Md. Code Ann., State Gov’t § 12-108(a).

Mr. Love’s opposition makes no reference of additional efforts to serve the Treasurer

during the six months since the motion to dismiss was filed.

       Similarly, Mr. Love provides no evidence that Mr. Clark has been served. Service

upon the Attorney General is not effective as to state employees sued in their individual

capacities. Maryland Rule 2-124(k), Committee Note (this rule does not “obviate the need

for personal service on an officer sued in the officer’s individual capacity”). The State

cannot require employees sued in their individual capacity to allow the Attorney General

to accept service on their behalf. Mr. Love has not effected service on the Treasurer or Mr.

Clark in his individual capacity. Hence, Counts IV and VI, and the claims against Mr.

Clark in his individual capacity should be dismissed.




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III.   MR. LOVE’S ANALYSIS OF HIS SPEECH FAILS TO CONSIDER IMPORTANT
       FACTORS ABOUT THE CIRCUMSTANCES OF HIS EMPLOYMENT,
       INCLUDING FACTS PLEADED IN HIS COMPLAINT.

       Mr. Love points to several cases in an attempt to persuade this Court that his case

should not be dismissed, but in doing so, he fails to acknowledge facts pleaded in his

complaint that distinguish his situation as a matter of law. And some of the cases have no

bearing on the argument raised by defendants. For example, Mr. Love cites to Pickering,

Mt. Healthy, and Givhen, which all involve school teachers and not a political appointee of

the Governor. Pickering v. Board of Educ. of Twp Hugh Sch. Dist. 205, 391 U.S. 563

(1968); Mt. Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S. 274 (1977); Givhan v.

Western Line Consol. Sch. Dist., 439 U.S. 410 (1979). Nor do those cases address the basis

on which defendants sought dismissal in this case. Defendants’ motion to dismiss never

argued the truth or falsity of Mr. Love’s memes (for which Mr. Love partly cites to

Pickering), that there was also a prior work-related failing (for which Mr. Love partly cites

to Mt. Healthy), or that it mattered whether he spoke publicly or privately (for which Mr.

Love partly cites to Givhan).2

       Defendants, instead, argued that Mr. Love’s termination did not violate the First

Amendment here because—based upon the facts he pleaded—his speech interests do not

outweigh “the government’s interest in managing the working environment.” ECF 7-1 at


       2
          Mr. Love does, however, cite to Connick v. Myers, 461 U.S. 138 (1983), which, in
part, stands for the principle that “[w]hen close working relationships are essential to
fulfilling public responsibilities, a wide degree of deference to the employer’s judgment is
appropriate.” Id. at 151-52. Moreover, Connick also clarifies that an employer is not
required to wait for “events to unfold to the extent that the disruption of the office and the
destruction of working relationships is manifest before taking action.” Id. at 152.

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12-15. Mr. Love is now attempting to flee from the facts he pleaded in the hopes that this

Court will ignore them and find a factual dispute somewhere, despite being before this

Court on a motion to dismiss and not for summary judgment.

       Mr. Love asks this Court to find a factual dispute several times, but the facts

defendants rely on are those pleaded in his complaint. Mr. Love was a political appointee

of Governor Hogan. ECF 1 at ¶ 16. During the evening hours on Friday, August 28, 2020,

Mr. Love posted a variety of memes on Facebook. ECF 1 at ¶ 25. Mr. Love’s actions that

evening caused the others in the conversation to become “aggrieved with Mr. Love’s

position, prompting Mr. Love to exit the conversation.” ECF 1 at ¶ 26. The next morning,

Saturday, August 29, 2020, “Mr. Love awoke to the press at his home.” ECF 1 at ¶ 27.

Mr. McAdams immediately released a public statement that “[t]hese divisive images and

statements are inconsistent with the mission and core values of the Office of Community

Initiatives. Earlier today, I relieved this employee of his duties.” ECF 1 at ¶ 33.

       Mr. Love’s attempt to downplay the facts change nothing. His comments were so

incendiary that the media showed up at his home the morning after they were posted. The

press is not generally interested in the memes that run-of-the-mill State employees post.

But the media is interested when they are divisive, posted by someone in the Governor’s

Office, and the nature of the individual’s job is to engage with the community. Moreover,

Mr. Love’s supervisor released a public statement over that weekend about the memes, an

uncommon occurrence that does not happen for most personnel matters involving State




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employees.3 But, again, most personnel matters do not involve an appointee of the

Governor.

       Defendants also argued in the alternative that it does not matter whether the

Connick-Pickering test is satisfied because, as a matter of law, the Elrod-Branti doctrine is

dispositive of his claims. Indeed, this Court should dismiss Mr. Love’s claims because

when the Elrod-Branti doctrine applies, the Connick-Pickering test above does not

necessarily apply.    Thompson v. Belton, Civil Action No. ELH-18-3116, 2018 WL

6173443, at *19. Mr. Love was an appointee of the Governor and his job necessarily

involved partisan political interests. See Nader v. Blair, 549 F.3d 953, 959 (4th Cir. 2008).

And the State’s designation of Mr. Love as a political special appointment “creates a

presumption at law that discharge or demotion was proper.” Stott v. Haworth, 916 F.2d

134, 142 (4th Cir. 1990). Mr. Love admitted that he was a political appointee of the

governor who was appointed to be the Deputy Director of Community Initiatives, see ECF

1 at ¶ 16, thus confirming that he served in a political position. Md. Code Ann., State Pers.

& Pens. § 6-405(b) (stating that special appointment positions may “be filled with regard

to political affiliation, belief, or opinion”); see Exhibit B: Termination Letter (referring to




       3
         Mr. Love argues that there is “nothing in the record (except bare statements by a
supervisor)” to support defendants’ argument that Mr. Love failed to satisfy the Connick-
Pickering test because the memes he posted adversely impacted his working environment
and ability to provide services to the public. Plaintiff’s Opp. at 12. His argument is
noteworthy for two reasons. First, it is an admission that the complaint pleaded facts to
support a finding his posts impacted his working environment and ability to provide
services to the public. Second, considering the circumstances as pleaded by Mr. Love,
there is nothing more that needs to be in “the record.”

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Mr. Love’s position as a “Political Special Appointment Position”); see also Exhibit D:

Offer Letter (hiring Mr. Love the day of Governor’s Hogan’s inauguration as a “Political

Special Appointment under the State’s personnel system”). 4

       Mr. Love’s position was designated as political.        Mr. Love confirmed in his

complaint that he was an appointee of the governor. Mr. Love cannot overcome the

“presumption at law that discharge or demotion was proper,” Stott, 916 F.2d at 142, and

his claims should be dismissed with prejudice.




       4
         Mr. Love does not challenge the authenticity of the exhibits to the motion to
dismiss in his opposition. Where “a defendant attaches a document to its motion to dismiss,
‘a court may consider it in determining whether to dismiss the complaint [if] it was integral
to and explicitly relied on in the complaint and [if] the plaintiffs do not challenge its
authenticity.” American Chiropractic Ass’n Inc. v. Trigon Healthcare Inc., 367 F.3d 212,
234 (4th Cir. 2004) (citing Phillips v. LCI Int’l Inc., 190 F.3d 609, 618 (4th Cir. 1999)).
Mr. Love’s failure to challenge the exhibits precludes him from asserting challenges to the
authenticity of the documents. Exhibit D is offered only for its consistency with others
before this Court.

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                                   CONCLUSION

      For all the foregoing reasons, defendants’ motion to dismiss should be granted and

the complaint should be dismissed with prejudice.

                                        Respectfully submitted,

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                                        Attorney General of Maryland

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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 9th day of June 2021, a copy of the foregoing

Defendants’ Reply in Support of Their Motion to Dismiss was sent by first class mail,

postage prepaid, to:

       Mr. Arthur M. Love
       2064 Lake Grove Lane
       Crofton, Maryland 21114
       Pro Se Plaintiff



                                       /s/ Robert A. Scott
                                       ___________________________________
                                       Robert A. Scott




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